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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re
                                                             Chapter 11

    Lordstown Motors Corp., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
                                            Debtors.

                                                             Objection Deadline: Feb. 12, 2024, at 4:00 p.m. (ET)


             SUMMARY COVER SHEET OF SIXTH MONTHLY APPLICATION OF
          SILVERMAN CONSULTING FOR ALLOWANCE OF COMPENSATION AND
                REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
               DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

        Name of Applicant:                                                             Silverman Consulting

        Authorized to Provide Professional Services to:                 Debtors and Debtors-in-Possession

        Date of Retention:                                                           Effective June 27, 2022

        Period for Which Compensation and                                                December 1, 2023 –
        Reimbursement Are Requested:                                                     December 31, 2023

        Total Amount of Compensation (100%):                                                      $140,458.00

        Amount of Compensation Requested (80%):                                                   $112,366.40

        Amount of Compensation Held Back (20%):                                                     $28,091.60

        Amount of Expense Reimbursement Requested:                                                   $1,321.68

        Aggregate Amount to be Paid Under                                                         $113,688.08
        Compensation Procedures Order upon Filing
        Certificate of No Objection Regarding
        Application After Expiration of Objection
        Deadline:

        This is a monthly fee application.


1
        The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
        Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
        address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.

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                                     MONTHLY & INTERIM FEE APPLICATIONS FILED

      (1)        (2)           (3)               (4)        (5)            (6)          (7)          (8)         (9)         (10)
                                                              Approved                                           Total Approved
                                     Requested                                            Holdback
                                                           On Monthly Basis                                     By Interim Order
  Date;        Period
                              Fees          Expenses       Fees         Expenses        Fees      Expenses      Fees       Expenses
   D.I.       Covered
8/22/2023    6/27/2023 –   $183,620.20     $11,136.91   $146,896.16     $11,136.91   $36,724.04      $0          $0          $0
 D.I. 291     7/31/2023

9/25/2023    8/1/2023 –    $252,638.00     $21,241.92   $202,110.40     $21,241.92   $50,527.60      $0          $0           $0
 D.I. 468    8/31/2023

10/25/2023   9/1/2023 –    $222,236.50     $18,921.16   $177,789.20     $18,921.16   $44,447.30      $0          $0           $0
 D.I. 616     9/30/2023
11/14/2023   6/27/2023 –       $0                $0         $0             $0           $0           $0      $131,698.94     $0
 D.I. 694     9/30/2023
11/20/2023   10/1/2023 –   $249,418.50     $22,515.18   $199,534.80     $22,515.18   $49,883.70      $0          $0           $0
 D.I. 719    10/31/2023
12/21/2023   11/1/2023 –   $201,120.50      $5,793.83   $160,896.40     $5,793.83    $40,224.10      $0          $0           $0
 D.I. 853    11/30/2023




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                        SUMMARY OF TOTAL FEES AND HOURS
                               BY PROFESSIONAL

            Name                     Title             Hours     Hourly        Fee
                                                                 Rate          Amount
            Constadinos D. Tsitsis   Partner             19.20      $525.00        $10,080.00
            Scott Kohler             Partner             97.60      $525.00        $51,240.00
            Steven A. Nerger         Partner             10.30      $350.00         $3,605.00
            Alex Bauer               Director             0.50      $320.00          $160.00
            Ellen Hammes             Associate          119.60      $290.00        $34,684.00
            Michael Mollerus         Associate            2.00      $270.00          $540.00
            Alex Crnkovich           Associate          148.70      $270.00        $40,149.00
            Grand Total                                 397.90      $353.00      $140,458.00




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             STATEMENT OF FEES AND HOURS BY PROJECT CATEGORY

  Code      Category Description                                                        Hours      Fee
                                                                                                   Amount
   1-1      Preparation of Budgets, Availability Reports, Business Evaluation and          44.40    $12,866.00
            Flash Reports
  1-2       Preparation of Financial Data to Support Motions                               28.00    $10,214.00
  1-3       Preparation of Financial Projections                                            3.60      $986.00
  2-1       Daily Management and Operations                                                21.20     $7,700.00
  4-2       Case Administration                                                           274.00    $99,726.50
  4-3       Monthly Operating Reports                                                      12.30     $4,155.00
  4-5       Fee Application Preparation                                                    14.40     $4,810.50
 Total                                                                                    397.90   $140,458.00




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                             EXPENSE SUMMARY


                          Expense Category   Category Total
                          Administrative          $1,321.68
                          Airfare                     $0.00
                          Meals                       $0.00
                          Lodging                     $0.00
                          Transportation              $0.00
                          Grand Total             $1,321.68




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re
                                                             Chapter 11

    Lordstown Motors Corp., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
                                            Debtors.

                                                             Objection Deadline: Feb. 12, 2024, at 4:00 p.m. (ET)



        SIXTH MONTHLY APPLICATION OF SILVERMAN CONSULTING FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
    FOR THE PERIOD DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

                Silverman Consulting (“Silverman”), restructuring advisors for the debtors and the debtors

in possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (collectively,

the “Chapter 11 Cases”), hereby files this sixth monthly application (this “Application”) for the

period from December 1, 2023 to and including December 31, 2023 (the “Fee Period”) requesting

(a) allowance and payment of compensation for professional services to the Debtor in the amount

of $112,366.40, representing 80% of the $140,458.00 of fees earned by Silverman for professional

services to the Debtors during the Fee Period, and (b) reimbursement of 100% of the actual and

necessary expenses incurred by Silverman during the Fee Period in connection with such services

in the amount of $1,321.68. In support of this Application, Silverman respectfully represents as

follows:




1
        The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
        Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
        address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


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               JURISDICTION, VENUE AND PREDICATES FOR RELIEF

               This Court has jurisdiction to consider this Application under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.). This

is a core proceeding under 28 U.S.C. § 157(b). Venue of the Chapter 11 Cases and this Application

is proper in this District under 28 U.S.C. §§ 1408 and 1409.

               The predicates for the relief requested by this Application are sections 330 and 331

of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rule 2016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-2 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), and the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181] (the “Compensation Procedures Order”).

                                        BACKGROUND

               On June 27, 2023 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code. The Chapter 11 Cases are being

jointly administered for procedural purposes only pursuant to Bankruptcy Rule 1015(b). The

Debtors continue to operate their businesses and manage their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On July 11, 2023, the Office of

the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed the official

committee of unsecured creditors (the “Creditors’ Committee”) for these Chapter 11 Cases. On

September 7, 2023, the U.S. Trustee appointed the official committee of equity security holders

(the “Equity Committee” and, collectively with the Creditors’ Committee, the “Committees”)




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pursuant to section 1102 of the Bankruptcy Code. No trustee or examiner has been appointed in

these Chapter 11 Cases.

               The Court has authorized the Debtors to retain and employ Silverman as their

restructuring advisors, effective as of the Petition Date, pursuant to the Order Authorizing the

Debtors to Employ and Retain Silverman Consulting as Restructuring Advisor Effective as of the

Petition Date [Docket No. 176] (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate and reimburse Silverman in accordance with the terms set forth in the

Engagement Letter (attached to the Retention Order), including the Fee and Expense Structure set

forth therein (as modified by the Retention Order), and to pay fees and reimburse expenses to

Silverman on the terms set forth in the Engagement Letter (as modified by the Retention Order).

               On July 25, 2023, the Court entered the Compensation Procedures Order. The

Compensation Procedures Order provides, among other things, that each professional seeking

interim compensation may file an application (a “Monthly Fee Application”) for interim approval

and allowance of compensation for services rendered and reimbursement of expenses incurred

during the immediately preceding month and serve a copy of such Monthly Fee Application on

the Notice Parties (as defined in the Compensation Procedures Order). Then, each Notice Party

will have until 4:00 p.m. (prevailing Eastern Time) on the twentieth (20th) day after service of a

Monthly Fee Application to object thereto (the “Objection Deadline”). Upon expiration of the

Objection Deadline, the professional may file a certificate of no objection consistent with Local

Rule 9013-1(j) with the Court after which the Debtors are authorized to pay each professional an

amount equal to 80 percent (80%) of the fees and 100 percent (100%) of the expenses not subject

to an objection.




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                                                   RELIEF REQUESTED

                       By this Application, in accordance with the Compensation Procedures Order,

Silverman requests payment in the aggregate amount of $112,366.40, which is equal to (a) 80%

of the $140,458.002 of fees earned by Silverman for professional services to the Debtors during

the Fee Period; and (b) 100% of the $1,321.68 of actual and necessary expenses incurred by

Silverman during the Fee Period in connection with its services to the Debtors.

                                     SUMMARY OF SERVICES RENDERED

                       Attached hereto as Exhibit A is a detailed statement of Silverman’s hours expended

and fees earned during the Fee Period. A summary of Silverman’s hours expended and fees earned

during the Fee Period grouped by category (discussed below) are in the summary cover sheets

prefixed to this Application. The Silverman professionals who provided services to the Debtors

during the Fee Period are also identified in Exhibit A and in the summary cover sheets. The

services rendered by Silverman during the Fee Period are grouped into the categories set forth in

Exhibit A and in the summary cover sheets prefixed to this Application. These categories include:

    Code Category Description
    1    Business Analysis and Reports
    1-1         Preparation of Budgets, Availability Reports, Business Evaluation and Flash
                Reports
    1-2         Preparation of Financial Data to Support Motions
    1-3         Preparation of Financial Projections
    1-4         Plan Development & Strategy
    1-5         Preparation of Plan and Disclosure Statement
    2    Business Operations
    2-1         Daily Management and Operations
    2-2         Reports to / from Parties in Interest
    2-3         Meetings / communications with lender, lender’s agent or its counsel
    2-4         Sale of Company Matters
    3    Meetings and Communication with Creditors
    3-1         341 Creditors Meeting
    3-2         Meetings/communication with lenders

2
        This amount reflects a voluntary reduction of $1,937.50 for the Fee Period.


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    3-3               Creditor communications & negotiations
    4           Case Administration
    4-1               Travel
    4-2               Case Administration
    4-3               Monthly Operating Reports
    4-4               Bankruptcy Schedules, SOFA and IDI information
    4-5               Fee Application Preparation

                       Silverman professionals expended a total of 397.90 hours in connection with these

Chapter 11 Cases during the Fee Period.                            All services rendered by Silverman for which

compensation is sought pursuant to this Application were rendered solely to or on behalf of the

Debtors. No payments were received by Silverman from any other source for services rendered

or to be rendered in connection with these Chapter 11 Cases.

                                      ACTUAL AND NECESSARY EXPENSES

                       Attached as Exhibit B is a detailed statement of Silverman’s out-of-pocket

expenses incurred during the Fee Period, totaling $1,321.68. These expenses include, but are not

limited to, airfare, ground transportation, lodging, and meals.

                                               VALUATION OF SERVICES

                       As noted above, the amount of time spent by each Silverman professional providing

services to the Debtors during the Fee Period is set forth in the summary cover sheets hereto. The

rates reflected thereon are Silverman’s customary hourly rates for work of this character. The

reasonable value of the services rendered by Silverman for the Fee Period as restructuring advisors

to the Debtors in these Chapter 11 Cases is $140,458.00. The blended rate for compensation

requested in this Application is approximately $353.00. 3




3
        The blended rate is calculated by taking the total of fees included in this Monthly Fee Application and dividing by the total of
        hours included in this Monthly Fee Application, rounded to the nearest cent.


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                  In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the fees requested are fair and reasonable given (a) the complexity of these Chapter 11 Cases,

(b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under this title.

                  Although Silverman has made every effort to include all fees earned and expenses

incurred during the Fee Period, some fees and expenses might not be included in this Application

due to delays caused by accounting and processing during the Fee Period. Silverman reserves the

right to make further applications to this Court for allowance of such fees and expenses not

included herein. Subsequent fee applications will be filed in accordance with the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and the Compensation Procedures Order.

                              CERTIFICATION OF COMPLIANCE

                  The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information, and belief, this Application complies with the

requirements of that Local Rule.

             WHEREFORE, Silverman requests allowance and payment of compensation for

professional services to the Debtors during the Fee Period in the amount of $112,366.40

representing 80% of the $140,458.00 of fees earned by Silverman for professional services to the

Debtors during the Fee Period, and reimbursement of 100% of the actual and necessary expenses

incurred by Silverman during the Fee Period in connection with such services in the amount of

$1,321.68, for a total interim award of $113,688.08.

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Dated: January 22, 2024
       Chicago, Illinois
                                     Respectfully submitted,

                                     SILVERMAN CONSULTING

                                     /s/ Constadiinos D. Tsitsis
                                     Constadinos D. Tsitsis
                                     Partner




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